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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


BORGWARNER ITHACA LLC,                       2:20-CV-10928-TGB-MJH


                  Plaintiff,
      vs.                                  ORDER (1) REQUIRING
                                         MEDIATION; (2) PARTIALLY
                                          STAYING CASE PENDING
SCHAEFFLER AG and                           MEDIATION; AND (3)
SCHAEFFLER GROUP USA                        DENYING AS MOOT
INC.,                                    DEFENDANTS’ MOTION TO
                                             STAY (ECF NO. 35)

                  Defendants.

     The Court believes that it would be prudent for the parties to make
an effort to resolve this lawsuit through settlement discussions.
     To that end, the Court orders that the parties undertake a

facilitative mediation with the Hon. Gerald R. Rosen (retired) pursuant
to Local Rule 16.4. The parties have agreed to Judge Rosen serving as
the mediator. The Court’s Technical Adviser Christopher G. Darrow shall

assist Judge Rosen with those settlement efforts. The parties previously
consented to Mr. Darrow assisting in settlement discussions.
     Judge Rosen shall be authorized to conduct the mediation in a

manner that he considers most effective, including by determining its: (i)
format, (ii) number of sessions, (iii) participants, aside from counsel from


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each side who shall attend, it being understood that such representatives
must include persons with full settlement authority, (iv) location, and (v)

date(s). The Court directs Judge Rosen, Mr. Darrow, and the parties to
make all reasonable efforts to conduct the mediation at the earliest
available opportunity. Failure of a party to comply with Judge Rosen’s

determinations may result in this case being dismissed, or a
pleading/answer being struck.
     To allow the parties to devote their efforts toward such settlement

discussions, the proceedings in this case are hereby STAYED until
February 28, 2022, with the exceptions of Defendants’ pending Motion to
Dismiss (ECF Nos. 33, 34) and Motion for Leave to Amend (ECF No. 29).

In the event that oral argument is appropriate on these motions, it shall
be scheduled after briefing is completed. Defendants’ Motion to Stay
Proceedings Pending Adjudication of Defendants’ Motion to Dismiss

(ECF No. 35) is moot and will therefore be DENIED.
     If this case does not settle, the attorneys for the parties shall work
with Mr. Darrow to propose a new schedule for this case.

     SO ORDERED this 19th day of November, 2021.


                                   BY THE COURT:


                                   /s/Terrence G. Berg
                                   TERRENCE G. BERG
                                   United States District Judge

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